Case 17-31042      Doc 226     Filed 10/25/18 Entered 10/25/18 16:26:08          Desc Main
                                Document     Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS
                                     WESTERN DIVISION


                                                               CHAPTER 7
  IN RE: Roney Louis Harris                                    Case No. 17-31042-CJP
               Debtor




         MOTION FOR DEFAULT FOR FAILURE TO COMPLY WITH
      COURT'S ORDER TO RESPOND REGARDING THE STANDING ISSUE

         To the Honorable Christopher J. Panos, U.S. Bankruptcy Judge:

         Debtor, Roney L. Harris ("Debtor"), moves this Court to default HSBC Bank

         USA National Association, As Trustee For Fremont Home Loan Trust 2006-A,

  Mortgage-Backed Certificates, Series 2006-A (hereinafter, "HSBC") for failure to

  comply with the Court's order further address the standing issue on or before September

  18, 2018. Said Court order was entered on September 5, 2018.




  Respectfully submitted,

  Dated: October 25,2018

                                                     Debtor,




                                                 Rone)) . arris, pro se
                                                 615 hite Street
                                                 Springfield, MA 01108
                                                 (413) 736-5754
                                                 ronharriss(ci)juno.com
Case 17-31042     Doc 226       Filed 10/25/18 Entered 10/25/18 16:26:08           Desc Main
                                 Document     Page 2 of 2




                                 CERTIFICATION

          This will certify that a copy of the foregoing was mailed, postage prepaid, on this
  date, to the following:


  Marcus Pratt, Esq.                             Denise M. Pappalardo, Trustee
  Korde & Associates, P.C.                       P.O. Box 16607
  900 Chelmsford Street, Suite 3102              Worcester, MA 01601
  Lowell, MA 01851




  Office of the U.S. Trustee
  446 Main Street, 14th Floor
  Worcester, MA 01608




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